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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




Pinckney,
             Plaintiff(s),
                                                   CIVIL ACTION
             V.
                                                   NO. 20-40047-TSH

Quinsigamond Community College, et al.,
          Defendant(s),


                         SETTLEMENT ORDER OF DISMISSAL


Hillman, D. J.


      The Court having been advised on       December 17, 2020

that the above-entitled action has been settled;

      IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice to the right of any party, upon good cause shown, to reopen the

action within sixty (60) days if settlement is not consummated.



                                                   By the Court,


 December 18, 2020                                 /s/ Martin Castles
    Date                                           Deputy Clerk
